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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

AUTHORS GUILD, DAVID BALDACCI,                  Case No. 1:23-cv-08292-SHS
MARY BLY, MICHAEL CONNELLY, SYLVIA
DAY, JONATHAN FRANZEN, JOHN
GRISHAM, ELIN HILDERBRAND,
CHRISTINA BAKER KLINE, MAYA
SHANBHAG LANG, VICTOR LAVALLE,
GEORGE R.R. MARTIN, JODI PICOULT,
DOUGLAS PRESTON, ROXANA ROBINSON,
GEORGE SAUNDERS, SCOTT TUROW, and
RACHEL VAIL, individually and on behalf of
others similarly situated,
                Plaintiffs,
        v.
OPEN AI INC., OPENAI OPCO LLC, OPENAI
GP LLC, OPENAI, LLC, OPENAI GLOBAL
LLC, OAI CORPORATION LLC, OPENAI
HOLDINGS LLC, OPENAI STARTUP FUND I
LP, OPENAI STARTUP FUND GP I LLC,
OPENAI STARTUP FUND MANAGEMENT
LLC, and MICROSOFT CORPORATION,
                Defendants.
JONATHAN ALTER, KAI BIRD, TAYLOR                  Case No. 1:23-cv-10211-SHS
BRANCH, RICH COHEN, EUGENE LINDEN,
DANIEL OKRENT, JULIAN SANCTON,
HAMPTON SIDES, STACY SCHIFF, JAMES
SHAPIRO, JIA TOLENTINO, and SIMON
WINCHESTER, on behalf of themselves and all
others similarly situated,
                Plaintiffs,
        v.
OPENAI, INC., OPENAI OPCO LLC, OPENAI
GP, LLC, OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, OPENAI HOLDINGS,
LLC, OPENAI STARTUP FUND I LP, OPENAI
STARTUP FUND GP I LLC, OPENAI STARTUP
FUND MANAGEMENT LLC, and MICROSOFT
CORPORATION,

                Defendants.


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          [PROPOSED] ORDER FOR ATTORNEY ADMISSION PRO HAC VICE

         The motion of Amber B. Magee for admission to practice Pro Hac Vice in the above-

captioned action is granted. Applicant has declared that she is an active member in good standing

of the bar of the State of Texas; and that her contact information is as follows:

                                        Amber B. Magee
                                  SUSMAN GODFREY L.L.P.
                                1000 Louisiana Street, Suite 5100
                                     Houston, Texas 77002
                                   Telephone: (713) 651-9366
                                  amagee@susmangodfrey.com

         Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for the Plaintiff and the Proposed Class in the above-captioned action.

         IT IS HEREBY ORDERED that Amber B. Magee is admitted to practice Pro Hac Vice

in the above-captioned case in the United States District Court for the Southern District of New

York. All attorneys appearing before this Court are subject to the Local Rules of this Court,

including the Rules governing discipline of attorneys.
          10/24/24
Dated:




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